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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

 CIVIL ACTION NO. 3:18CV-00053-JHM

 CALEB ELMORE                                                                       PLAINTIFF

 V.

 BELLARMINE UNIVERSITY                                                             DEFENDANT

                           MEMORANDUM OPINION AND ORDER

          This matter is before the Court on a motion for preliminary injunction by Plaintiff, Caleb

 Elmore [DN 3]. A preliminary injunction hearing was held on March 13, 2018. Fully briefed

 and argued, this matter is ripe for decision.

                                         I. BACKGROUND

          Plaintiff, Caleb Elmore, is a student at Defendant, Bellarmine University, a private

 university located in Louisville, Kentucky. On January 25, 2018, Plaintiff filed this action for

 breach of contract, promissory estoppel, negligence, and violation of Title IX. Plaintiff asserts

 that Bellarmine imposed disciplinary sanctions against him in retaliation for his complaints of

 sexual misconduct against a Bellarmine chemistry professor, Dr. Francis Barrios. Plaintiff also

 filed this motion seeking a preliminary injunction prohibiting Bellarmine from imposing

 discipline on him “in violation of its contractual obligations and in retaliation for Caleb Elmore

 asserting a Title IX sexual harassment complaint against a Bellarmine faculty member.” (Motion

 at 3.)

          Plaintiff contends that in the spring and summer of 2017 Dr. Barrios sought a sexual

 relationship with Elmore and engaged in a series of sexually explicit text messages. Plaintiff

 alleges that on September 6, 2017, he and Dr. Barrios had a disagreement regarding a research
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 project and his foreign language requirement that resulted in the end of the relationship.

        On September 7, 2017, Dr. Barrios met with Dr. Pat Holt, his department chair, and

 communicated that Elmore became upset when Dr. Barrios refused to support his request to

 count a study abroad experience towards the school’s foreign language requirement and that

 Elmore threatened to kill him. On September 13, 2017, Elmore met with Dr. Holt who informed

 Elmore that he would be required to withdraw from the research project with Dr. Barrios and

 indicated that an apology letter to Dr. Barrios from Elmore would “make this go away.” Elmore

 refused to apologize and refused to relinquish his role in the research project. Elmore maintains

 that Dr. Barrios made this false allegation against him in retaliation for Elmore ending their

 relationship and in an effort to intimidate him from reporting the inappropriate relationship to

 Bellarmine. On September 14, 2017, Dr. Sean McGreevey, Dean of Students, met with Elmore

 about the alleged incident. Dr. McGreevey testified that he believed Elmore wanted a hearing to

 explain his side of the story.

        On September 25, 2017, Dr. Barrios filed a formal complaint with Bellarmine in which

 he alleged Plaintiff violated Bellarmine’s Student Code of Conduct by threatening to kill him,

 and Bellarmine began a formal investigation. On September 26, 2017, Elmore received a notice

 that he was being charged with a violation of the Code of Student Conduct for the incident on

 September 6, 2017. Dr. McGreevey again met with Elmore to inform him of the charges. The

 Notice of Alleged Violation(s) reflected Elmore’s name, date of incident, location of incident,

 time of incident, and described the incident as follows: “[Elmore] allegedly verbally harassed a

 Bellarmine University faculty member in the faculty member’s office with threats of physical

 harm.” The Notice indicated the Student Code of Conduct violations as “2.00 Harassment,”

 “4.00 Violation of Federal, State, Local Law and/or University Policies,” and “13.00 Disorderly



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 Conduct.” (Preliminary Injunction Hearing, Exhibit 3.)

         An initial hearing on Elmore’s Student Code of Conduct violations was set for October

 11, 2017. On October 5, 2017, Elmore filed a complaint under Bellarmine’s Sexual Misconduct

 Policy alleging that Dr. Barrios sexually harassed him. Plaintiff requested a stay of his Student

 Code violation hearing as a result of his sexual harassment allegations. Bellarmine granted the

 stay.

         Bellarmine conducted an investigation of Elmore’s sexual harassment complaint led by

 Clare Dever and Dr. Kevin Thomas.       On December 21, 2017, Bellarmine reset the hearing on

 Elmore’s claim of sexual misconduct by Dr. Barrios to January 12, 2018. On December 22,

 2017, Elmore’s counsel expressed concerns about the investigative report prepared by Dever and

 Thomas, specifically the investigators’ emphasis on the issue of consent, instead of the issue of

 discrimination for purposes of Title IX liability. (Preliminary Injunction Hearing, Exhibit 6.)

 Additionally, Elmore’s counsel later requested a delay of the Title IX hearing due to a conflict

 with the parties’ schedules.

         As a result of Plaintiff’s sexual harassment complaint and subsequent investigation, Dr.

 Barrios was dismissed from his position at Bellarmine on December 21, 2017. Bellarmine

 terminated Dr. Barrios for engaging in a “highly inappropriate relationship with one of your

 students,” which included text messages with extensive sexual innuendo, vulgar language,

 extensive reference to genitalia, threats of violence against a fellow faculty member which was

 not reported to any campus official, and invitations to visit Dr. Barrios’ home. In the letter,

 Bellarmine noted that the sexual harassment proceeding was still pending, but that regardless of

 its outcome, the investigation leads them to believe termination is warranted. (Dec. 21, 2017

 Letter from Pfeffer to Barrios, Preliminary Injunction Hearing, Exhibit 4.)



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        On December 30, 2017, Elmore and his counsel were notified via email from

 Bellarmine’s counsel that Dr. Barrios would not be returning to Bellarmine. Additionally,

 Bellarmine agreed to the delay of the Title IX hearing, but notified counsel that Bellarmine had

 decided to proceed with Elmore’s student code hearing. Bellarmine added two new code of

 conduct violations. Specifically, Bellarmine maintained that that Plaintiff violated Bellarmine’s

 Student Code of Conduct resulting when (1) he threatened Dr. Akhtar Mahmood in two text

 messages to Dr. Francis Barrios on June 2, 2017 (to kill Dr. Mahmood) and July 3, 2017 (to

 destroy him), and (2) he threatened to kill Dr. Barrios and have him fired on September 6, 2017.

 The email provided in relevant part:

               Mr. Elmore is being charged with violating Bellarmine’s Code of
               Student Conduct on three separate occasions.

               First, he is being charged in connection with the incident that
               occurred in Dr. Barrios’ office on September 6, 2017. This is the
               same violation presented to Mr. Elmore last September.
               Additionally, the hearing will also address alleged threats made by
               Mr. Elmore toward Dr. Mahmood on June 2, 2017 and July 3,
               2017. As you may know, the existence of these threats came to
               our attention during the course of the investigation associated with
               the sexual misconduct hearing, and our review of the report and the
               totality of the circumstances surrounding Mr. Elmore’s conduct as
               a student has led to the conclusion that his conduct as set forth in
               the text messages from last summer should be addressed in the
               student code hearing.

               These alleged violations are associated with [the] following
               provisions of Bellarmine’s Code of Student Conduct:

                      2. Intentionally or recklessly harassing or causing physical
               harm to others or causing apprehension of harm. Harassment
               includes, but is not limited to, stalking, verbal harassment, hate
               speech, bullying, cyber-bullying, and verbal threats.

                      4. Violation of federal, state, or local laws and ordinances,
               or University policies including the residence hall contract.




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                        13. Conduct which is disorderly, obscene, lewd, indecent,
                or a breach of peace. This includes, but is not limited to, physical,
                electronic or verbal misconduct.

 (Hearing, Exhibit 9.) Finally, Bellarmine “concluded that Mr. Elmore’s status as a resident

 advisor should be suspended until at least the conclusion of the student code hearing.” (Id.)

        At the preliminary injunction hearing, Dr. McGreevey testified that Leslie Ashford,

 Bellarmine’s Director of Housing and Residence Life and Associate Dean of Students, made the

 decision to remove Elmore from his position as a resident advisor which Elmore had served in

 throughout the fall of 2017. Dr. McGreevey further testified that he received the evidence

 related to the additional student code violation charges from Lynn Bynum, Bellarmine’s Title IX

 Coordinator. These additional charges were derived from text messages provided by Elmore in

 support of his sexual harassment complaint against Dr. Barrios. Elmore testified that he applied

 to Bellarmine for amnesty for any student code violations discovered as result of disclosures he

 made as part of his sexual harassment complaint. Dr. McGreevey testified that Bynum denied

 the request for amnesty and disclosed the Mahmood-related text messages to him.

        A hearing on the Student Code of Conduct violations occurred on January 9, 2018.

 Elmore was not permitted to have counsel present at the hearing. On January 11, 2018, Dr.

 McGreevey issued a decision finding that Plaintiff violated three separate provisions of the

 Student Code of Conduct. Plaintiff was placed on probation through December 31, 2018, and is

 required to perform fifteen (15) hours of community service, meet with a university staff

 member to guide him through his community service, and to refrain from contact with two of the

 witnesses at his hearing. The decision indicated that as a result of his probationary status, he was

 “no longer in good standing with the institution.” (Hearing, Exhibit 13.)

        Plaintiff alleges that as a result of not being in good standing with the school, he is unable



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 to participate in a pre-paid and non-refundable study abroad course. Additionally, Plaintiff

 alleges that he will be required to disclose on his applications to potential transfer schools,

 professional schools, and any licensing authorities that he was subject to discipline at his school.

 Plaintiff contends that the probation has damaged his academic and professional reputations and

 may affect his ability to enroll at other institutions of higher education. He may also lose

 eligibility for a valuable scholarship. Plaintiff maintains that the purpose of this current motion

 for preliminary injunction is to restore the status quo, i.e. that Caleb Elmore is a student in good

 standing at Bellarmine, and to prohibit Bellarmine from imposing the discipline outlined in the

 January 11, 2018, letter.

                                  II. STANDARD OF REVIEW

        A preliminary injunction is an extraordinary remedy that is generally used to preserve the

 status quo between the parties pending a final determination of the merits of the action. It is also

 used, as here, to restore the status quo. In determining whether to issue a preliminary injunction,

 the Court considers: “(1) whether the movant has a strong likelihood of success on the merits; (2)

 whether the movant would suffer irreparable injury without the injunction; (3) whether issuance

 of the injunction would cause substantial harm to others; and (4) whether the public interest

 would be served by the issuance of the injunction.”          Certified Restoration Dry Cleaning

 Network, L.L.C. v. Tenke Corp., 511 F.3d 535, 542 (6th Cir. 2007) (quoting Tumblebus Inc. v.

 Cranmer, 399 F.3d 754, 760 (6th Cir. 2005)). These four considerations are “factors to be

 balanced and not prerequisites that must be satisfied.” McNeilly v. Land, 684 F.3d 611, 615 (6th

 Cir. 2012) (quoting In re Eagle–Picher Indus., Inc., 963 F.2d 855, 859 (6th Cir. 1992)). These

 factors are to “guide the discretion of the court” and are “not meant to be rigid and unbending

 requirements.” Id. Accordingly, it is unnecessary for the Court to make findings regarding each



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 factor if “fewer are dispositive of the issue.” In re DeLorean Motor Co., 755 F.2d 1223, 1228

 (6th Cir. 1985) (citing United States v. Sch. Dist. of Ferndale, Mich., 577 F.2d 1339, 1352 (6th

 Cir. 1978)).

         “The party seeking the preliminary injunction bears the burden of justifying such relief,

 including showing irreparable harm and likelihood of success.” McNeilly, 684 F.3d at 615

 (citing Granny Goose Foods, Inc. v. Teamsters, 415 U.S. 423, 441 (1974)). However, a party is

 not required to prove its case in full at the preliminary injunction stage. Six Clinics Holding

 Corp., II v. Cafcomp Sys., Inc., 119 F.3d 393, 400 (6th Cir. 1997) (citing University of Tex. v.

 Camenisch, 451 U.S. 390, 395 (1981)). Therefore, the findings of fact and conclusions of law of

 a district court are not binding at a trial on the merits. Id.

                                           III. DISCUSSION

         A. Likelihood of Success on the Merits

         The Court first considers whether Plaintiff has “demonstrated ‘a strong likelihood of

 success on the merits.’” Tenke, 511 F.3d at 543 (quoting Tumblebus, 399 F.3d at 760). To

 satisfy this burden, a movant is not required to prove its case in full, but must show “more than a

 mere possibility of success” on the merits. Id. “[I]t is ordinarily sufficient if the plaintiff has

 raised questions going to the merits so serious, substantial, difficult, and doubtful as to make

 them a fair ground for litigation and thus for more deliberate investigation.” Id. (quoting Six

 Clinics Holding Corp., 119 F.3d at 402).

 1. Title IX Retaliation Claims

         Claims for retaliation under Title IX are analyzed under the standards developed under

 federal law for Title VII cases. Nelson v. Christian Bros. University, 226 Fed. Appx. 448, 454

 (6th Cir. 2007). To make out a claim of retaliation, a plaintiff must show that: (1) he engaged in



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 a protected activity; (2) this exercise of protected rights was known to the defendant; (3) the

 defendant thereafter took adverse employment action against the plaintiff; and (4) there was a

 causal connection between the protected activity and the adverse employment action. Scott v.

 Metropolitan Health Corp., 234 Fed. Appx. 341, 346 (6th Cir. 2007); Morris v. Oldham County

 Fiscal Court, 201 F.3d 784, 792 (6th Cir. 2000). See also Varlesi v. Wayne State Univ., 643 Fed.

 Appx. 507 (6th Cir. 2016). If and when a plaintiff has established a prima facie case, the burden

 of production once again shifts to the employer to articulate a legitimate, non-discriminatory

 reason for its actions. McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802 (1973). If the

 employer carries that burden, the plaintiff bears the burden of demonstrating that the employer’s

 reason is pretextual. Blair v. Henry Filters, Inc., 505 F.3d 517, 524 (6th Cir. 2007).

        Bellarmine does not dispute the first three elements of the prima facie case. Instead,

 Bellarmine contends that Plaintiff cannot prove likelihood of success on the merits because he

 has failed to establish the causal connection between the protected activity and the adverse

 action. Further, Bellarmine maintains that even if Plaintiff was able to establish a prima facie

 case, Bellarmine has produced legitimate, non-discriminatory reasons for the disciplinary action,

 and Elmore is unable to establish that those reasons were a pretext for retaliation.

                                         a. Causal Connection

        “Causation can be proven indirectly through circumstantial evidence such as suspicious

 timing.” Lindsay v. Yates, 578 F.3d 407, 418 (6th Cir. 2009) (citing Mickey v. Zeidler Tool and

 Die Co., 516 F.3d 516, 524–25 (6th Cir. 2008). Specifically, the Sixth Circuit has found that

 temporal proximity between an assertion of Title VII rights, or in our case Title IX rights, and “a

 materially adverse action is sufficient to establish the causal connection element of a retaliation

 claim ‘[w]here an adverse employment action occurs very close in time after an employer learns



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 of a protected activity.’” Lindsay, 578 F.3d at 418 (citing Mickey, 516 F.3d at 525). However,

 the more time that elapses between the protected activity and the adverse action, the more the

 plaintiff must supplement his claim with “other evidence of retaliatory conduct to establish

 causality.” Mickey, 516 F.3d at 525.

        The Sixth Circuit has found sufficient evidence of a causal connection where the time

 between the employee’s protected activity and the employer’s adverse action was two to three

 months. Cooley v. East Tennessee Human Res. Agency, Inc., 2017 WL 6547387, at *6 (6th Cir.

 Dec. 22, 2017); Dye v. Office of the Racing Comm'n, 702 F.3d 286, 306 (6th Cir. 2012) (finding

 that two months sufficient to show a causal connection); Singfield v. Akron Metro. Housing

 Auth., 389 F.3d 555, 563 (6th Cir. 2004) (stating that three months was “significant enough to

 constitute sufficient evidence of a causal connection”); Passmore v. Mapco Express, Inc., 2017

 WL 4176268, at *10 (M.D. Tenn. Sept. 19, 2017).

        In the present case, Bellarmine notified Elmore less than three months after his filing of

 the Title IX complaint against Dr. Barrios that Bellarmine intended to proceed on the September

 2017 Student Code of Conduct violation and on two new code violations derived from Elmore’s

 Title IX complaint. Bellarmine also removed Elmore from his resident advisor position at that

 time. In fact, Dr. McGreevey issued the final disciplinary decision a little over three months

 after the Title IX complaint and less than a month after Bellarmine terminated Dr. Barrios.

 Given the timing of the disciplinary action, the Court finds that the temporal proximity is

 sufficient for Elmore to meet his prima facie burden of showing causation.

                                                b. Pretext

        In response to the motion, Bellarmine articulated a legitimate, non-discriminatory reason

 for its actions. Specifically, Bellarmine states that it did not retaliate against Elmore for filing a



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 sexual harassment complaint against a professor. Bellarmine maintains that the only actions

 taken by it against Elmore stem from the fact that Elmore threatened two faculty members in

 clear violation of Bellarmine’s Student Code of Conduct. Since Bellarmine satisfied its burden

 of production, the burden now shifts back to Elmore to show that the reason given by Bellarmine

 was pretextual. See Harris v. Metro Government of Nashville, 594 F.3d 476, 485 (6th Cir.

 2010). Elmore may prove pretext by showing either that: (1) the proffered reason had no basis in

 fact; (2) the proffered reason did not actually motivate the disciplinary action; or (3) the

 proffered reason was insufficient to motivate the disciplinary action. See Manzer v. Diamond

 Shamrock Chems. Co., 29 F.3d 1078, 1084 (6th Cir. 1994). See also Marcum ex rel. C.V. v.

 Board of Educ. of Bloom-Carroll Local Sch. Dist., 727 F. Supp. 2d 657, 670–71 (S.D. Ohio

 2010).

          For purposes of this motion, Elmore argues that the proffered reasons articulated by

 Bellarmine did not actually motivate the disciplinary action or were insufficient to motivate the

 disciplinary action. At this stage of the litigation and after considering the evidence presented at

 the hearing, the Court finds that Elmore has “demonstrated ‘a strong likelihood of success on the

 merits.’” Tenke, 511 F.3d at 543 (quoting Tumblebus, 399 F.3d at 760).              Plaintiff raised

 questions going to the merits “so serious, substantial, difficult, and doubtful as to make them a

 fair ground for litigation and thus for more deliberate investigation.” Id.

          The record reflects that when informed of the September 6, 2017, threat by Elmore,

 Bellarmine did not inform law enforcement, campus security, or remove Elmore from his

 position as a resident advisor. Instead, Department Chair Holt meet with Elmore in an attempt to

 resolve the incident, requested he withdraw from Dr. Barrios’ research project, and write Dr.

 Barrios an apology to “make this go away.” When Elmore declined to withdraw from the project



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 and apologize, Dr. McGreevey then spoke with Elmore and eventually issued a Notice of

 Alleged Violation(s) of the Student Code of Conduct related solely to the September 6, 2017,

 incident. However, once Elmore filed his Title IX sexual misconduct complaint against Dr.

 Barrios and once Bellarmine terminated Dr. Barrios, Bellarmine not only proceeded with the

 original code of conduct violation, but also issued a second Notice of Alleged Violation(s) of the

 Student Code of Conduct related to additional threats against another faculty member.

 Significantly, the evidence regarding the additional threat was disclosed by Elmore himself in

 support of his sexual harassment claim in the Title IX proceeding. In fact, Lynn Bynum,

 Bellarmine’s Title IX Coordinator, denied Elmore amnesty for any student code violations

 discovered as result of his disclosure of the sexual harassment evidence and notified Dr.

 McGreevey of the June and July text messages related to Dr. Mahmood. Once again, Bellarmine

 did not notify law enforcement, campus security, or even Dr. Mahmood of the threats.

 Furthermore, Bellarmine did not remove Elmore from his position as a resident advisor upon

 learning of the additional threats.

        Bellarmine’s failure to notify law enforcement, campus security, or Dr. Mahmood of the

 alleged threats against Dr. Barrios and/or Dr. Mahmood suggests that the administration did not

 believe that Elmore posed a threat to faculty, staff, or students at Bellarmine at or near the time

 of the alleged threats or thereafter. A jury could infer that that Bellarmine considered the alleged

 threat made against Dr. Barrios a minor offense, not subject to discipline given Dr. Holt’s

 conversation with Elmore in September of 2017 that suggested an apology would make the

 complaint by Dr. Barrios go away. A jury could also believe that this type of conduct given the

 context of the alleged threats is conduct that the school would not typically punish through the

 formal disciplinary process. However, once Elmore filed his Title IX sexual harassment claim



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 and Bellarmine terminated Dr. Barrios, Bellarmine (1) informed Elmore that he would not only

 face a disciplinary hearing on the original charges, but also on new charges based on information

 Elmore voluntarily provided to the school’s Title IX investigators, (2) informed Elmore that he

 would be immediately removed as a resident advisor, resulting in the loss of a stipend for room

 and board and requiring him to relocate to a new room, and (3) ultimately chose to place Elmore

 on probationary status.

        Plaintiff has tendered sufficient evidence from which a jury could believe that

 Bellarmine’s proffered reason – student code of conduct violations -- did not actually motivate or

 was insufficient to motivate the disciplinary action given the fact that Bellarmine initially

 believed that the single violation could be remedied by an apology letter, did not notify law

 enforcement of the alleged threats against Dr. Barrios or Dr. Mahmood, and retained Elmore as a

 resident advisor throughout the fall semester. Thus, one could argue that Bellarmine’s view of

 the harm posed by Elmore’s threats did not motivate the discipline imposed.

        At this stage of the proceedings, the Court concludes that the likelihood of success on the

 merits factor weighs in favor of Elmore.    The parties are reminded that this decision does not

 bind the Court at the summary judgment stage or trial on the merits.

 2. Breach of Contract Claim

        Under Kentucky law, a claim for breach of contract requires the complainant to establish

 three things: (1) the existence of a contract; (2) breach of that contract; and (3) damages

 stemming from the breach. Metro Louisville/Jefferson Cnty. Gov't v. Abma, 326 S.W.3d 1, 8

 (Ky. App. 2009).

        In his breach of contract claim, Plaintiff alleges that Bellarmine breached the explicit

 guarantee of essential fairness, the implied covenant of good faith and fair dealing, and other



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 contractual provisions contained in the Student Handbook. According to Plaintiff, the breaches

 included: (1) imposed discipline without permitting him to confront the adverse witness – Dr.

 Barrios; (2) imposed discipline without providing sufficient notice, (3) imposed discipline

 without providing reasonable access to the investigative report and other material used against

 him, (4) imposed discipline without conducting an adequate investigation; and (5) imposed

 discipline without conducting a fair hearing. Having decided that the Plaintiff has demonstrated

 a likelihood of success on the merits with respect to his retaliation claim, the Court declines to

 address the breach of contract claim at this time.

        B. Irreparable Injury to Plaintiff Absent the Injunction

        The next factor the Court considers in deciding whether to grant a preliminary injunction

 is whether Plaintiff will suffer irreparable injury absent the injunction. Tenke, 511 F.3d at 550.

 “A plaintiff’s harm from the denial of a preliminary injunction is irreparable if it is not fully

 compensable by monetary damages.” Id. at 550 (quoting Overstreet v. Lexington-Fayette Urban

 Cnty. Gov’t, 305 F.3d 566, 578 (6th Cir. 2002)). That is, a court of equity will not step in to

 issue a preliminary injunction if there is “[a]n adequate remedy at law.” USACO Coal Co. v.

 Carbomin Energy, Inc., 689 F.2d 94, 99 (6th Cir. 1982). “[A]n injury is not fully compensable

 by money damages if the nature of the plaintiff’s loss would make the damages difficult to

 calculate.” Tenke, 511 F.3d at 550 (quoting Basicomputer Corp. v. Scott, 973 F.2d 507, 511 (6th

 Cir. 1992)). “The possibility that adequate compensatory or other corrective relief will be

 available at a later date, in the ordinary course of litigation, weighs heavily against a claim of

 irreparable harm.” Sampson v. Murray, 415 U.S. 61, 90 (1974) (quoting Virginia Petroleum

 Jobbers Ass'n v. Fed. Powers Comm'n, 259 F.2d 921, 925 (D.C. Cir. 1958)).




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        Plaintiff has presented sufficient evidence to support his claim that he will suffer

 irreparable harm if the Court does not enjoin Bellarmine from imposing the discipline in question

 because probation would damage Elmore’s academic and professional reputations and may

 affect his ability to enroll at other institutions of higher education or medical school and to

 pursue a career. See Doe v. Cummins, 662 Fed. Appx. 437, 445 (6th Cir. 2016). The Sixth

 Circuit has held that an action which puts an injured party’s reputation at risk may lead to

 “irreparable harm.” Lorillard Tobacco Co. v. Amouri’s Grand Foods, Inc., 453 F.3d 377, 381–

 82 (6th Cir. 2006); United States v. Miami University, 294 F.3d 797, 819 (6th Cir. 2002) (“An

 injury is not fully compensable by money damages if the nature of the plaintiff’s loss would

 make damages difficult to calculate. In general, . . . injury to reputation [is] difficult to

 calculate.” (internal citation omitted)). The record reflects that Plaintiff would have to disclose

 his probationary status in both undergraduate transfer and medical school applications. Removal

 as a residential advisor can be addressed through monetary damages.

        C. Possibility of Substantial Harm to Others

        The third factor in determining whether to issue a preliminary injunction is “whether the

 issuance of the injunction would cause substantial harm to others.” Tenke, 511 F.3d at 550–51

 (quoting Tumblebus, 399 F.3d at 760). This factor is most commonly examined in terms of the

 balance of hardship between the parties, requiring the Court to determine whether the harm that

 would be suffered by Plaintiff if the Court did not grant the injunction outweighs the harm that

 would be suffered by the Defendant or others if the injunction is granted. See Aluminum

 Workers Int'l Union v. Consolidated Aluminum Corp., 696 F.2d 437, 444 (6th Cir. 1982).

        Bellarmine argues that if the injunction is granted, Plaintiff will have received no

 punishment or learned the consequences from his actions. Additionally, Bellarmine argues that



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 granting injunctive relief will also harm third parties as Plaintiff has threatened a professor that is

 still employed by Bellarmine. Bellarmine has not demonstrated it will suffer harm as a result of

 the preliminary injunction. At the time Bellarmine learned of the threats, Bellarmine did not

 contact law enforcement or have Elmore removed from the campus. Instead, after the hearing,

 Bellarmine deemed the no contact letter sufficient to protect Dr. Mahmood. As a result, this

 factor weighs in favor of Elmore.

        D. Public Interest Served by the Injunction

        The final factor the Court must evaluate is “whether the public interest would be served

 by the issuance of the injunction.” Tenke, 511 F.3d at 551. The Court does not find that this

 factor weighs in favor of either party.

        E. Bond

        Federal Rule of Civil Procedure 65(c) provides that a Court may issue a preliminary

 injunction “only if the movant gives security in an amount that the court considers proper to pay

 the costs and damages sustained by any party found to have been wrongfully enjoined or

 restrained.” Fed. R. Civ. P. 65(c). Despite the mandatory language of the rule, “the rule in our

 circuit has long been that the district court possesses discretion over whether to require the

 posting of security,” if any. Appalachian Reg’l Healthcare, Inc. v. Coventry Health and Life Ins.

 Co., 714 F.3d 424, 431 (6th Cir. 2013) (quoting Moltan Co. v. Eagle–Picher Indus., Inc., 55 F.3d

 1171, 1176 (6th Cir. 1995)). For example, “the district court may dispense with the filing of a

 bond when it concludes there is no realistic likelihood of harm to the [non-movant] from

 enjoining his or her conduct.” Johnson v. Couturier, 572 F.3d 1067, 1086 (9th Cir. 2009); see

 Continental Oil Co. v. Frontier Refining Co., 338 F.2d 780, 782–83 (10th Cir. 1964) (under Fed.




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 R. Civ. P. 65(c), judge has discretion to waive posting of security in absence of showing

 likelihood of possible harm).

        The Court exercises its discretionary power to waive the security requirement of Rule

 65(c) because no bond is necessary under the facts of this case. As discussed above, the Court

 finds that Bellarmine will suffer no harm as a result of the preliminary injunction. Accordingly,

 the Court will not require a bond.

                                       IV. CONCLUSION

        For the reasons set forth above, IT IS HEREBY ORDERED that the motion for

 preliminary injunction by Plaintiff, Caleb Elmore [DN 3] is GRANTED.

        IT IS FURTHER ORDERED that Defendant, Bellarmine University, is preliminarily

 enjoined from imposing the discipline of probation and community service outlined in the

 January 11, 2018, decision against Plaintiff, Caleb Elmore. Plaintiff, Caleb Elmore, shall be

 returned to a student in good standing at Bellarmine University until this matter is concluded.




 cc: counsel of record

                                                                                 March 28, 2018




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